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                       1       WENDY MEDURA KRINCEK, ESQ., Bar # 6417
                               CRYSTAL J. HERRERA, ESQ., Bar # 12396
                       2       LITTLER MENDELSON, P.C.
                               3960 Howard Hughes Parkway, Suite 300
                       3       Las Vegas, NV 89169-5937
                               Telephone:    702.862.8800
                       4       Fax No.:      702.862.8811
                               e-mail: wkrincek@littler.com
                       5       email: cherrera@littler.com
                       6       Attorneys for Defendant,
                               FAMILY DOLLAR, INC.
                       7

                       8
                                                              UNITED STATES DISTRICT COURT
                       9
                                                                   DISTRICT OF NEVADA
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                    11
                               DAVID SMITH,                                    Case No.: 2:15-cv-00945-JCM-PAL
                    12
                                                 Plaintiff,
                    13
                               vs.                                             [PROPOSED] STIPULATION AND
                    14                                                         ORDER TO EXTEND TIME FOR
                               FAMILY DOLLAR, INC., a North                    DEFENDANT FAMILY DOLLAR, INC. TO
                    15         Carolina Corporation; DOES I through X;         ANSWER OR OTHERWISE RESPOND TO
                               and ROE BUSINESS ENTITIES I through             PLAINTIFF’S COMPLAINT
                    16         X, inclusive,
                                                                               [FIRST REQUEST]
                    17                           Defendant.

                    18

                    19                Plaintiff DAVID SMITH (hereinafter “Plaintiff”) and Defendant FAMILY DOLLAR, INC.
                    20         (hereinafter “Defendant”), by and through their respective counsel of record, hereby stipulate and
                    21         agree to extend the time for Defendant to answer or otherwise respond to Plaintiff’s Complaint, up to
                    22         and including June 17, 2015.
                    23                This extension is necessary to provide adequate time for recently retained counsel for
                    24         Defendant to receive and review necessary information in order to prepare an answer or to otherwise
                    25         respond to the Complaint. This is the first request for an extension of time to answer or otherwise
                    26         respond to the Complaint.
                    27         ///
                    28
LITTLER MENDELSON, P.C.
        ATTORNEYS AT LAW
  3960 Howard Hughes Parkway
            Suite 300
   Las Vegas, NV 89169-5937
          702.862.8800
                                Case 2:15-cv-00945-JCM-PAL            Document 4       Filed 05/22/15      Page 2 of 2



                       1              The parties agree and represent to the Court that this request is made in good faith and not for
                       2       the purpose of delay.
                       3       Dated: May 22, 2015.                          Dated: May 22, 2015.
                       4
                               Respectfully submitted,                       Respectfully submitted,
                       5

                       6
                               /s/ James P. Kemp                             /s/ Crystal J. Herrera
                       7       JAMES P. KEMP, ESQ.                           WENDY MEDURA KRINCEK, ESQ.
                               KEMP & KEMP                                   CRYSTAL J. HERRERA, ESQ.
                       8                                                     LITTLER MENDELSON, P.C.

                       9       Attorney for Plaintiff,                       Attorneys for Defendant,
                               DAVID SMITH                                   FAMILY DOLLAR, INC.
                    10
                                                                             ORDER
                    11

                    12                                                              IT IS SO ORDERED.

                    13                                                              Dated: _____________________, 2015.
                    14

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                                                                                    _______________________________________
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                                                                                    UNITED STATES MAGISTRATE JUDGE
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LITTLER MENDELSON, P.C.
                                                                               2.
        ATTORNEYS AT LAW
  3960 Howard Hughes Parkway
            Suite 300
   Las Vegas, NV 89169-5937
          702.862.8800
